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     6                             UNITED STATES DISTRICT CO URT
     7                                     DISTRICT OF NEVADA

     8 UNITED STATESOFAM ERICA,                       )
                                                      )
     9                        Plaintiff,              )
                                                      )
    10            v.                                .'
                                                     .) .          2:1I-CR-IIO-RLH (CVF)
                                                      )
    11 YULIEATON,                                     )
                                                      )
    12                        Defendant.              )
    13                                     ORDER OF FORFEITURE
    14           OnM arch 7,2012,defendantYULIEATON pledguiltytoaSupersedingCrim inalIndictment
    15 chargingherwith Conspiracy to Com mitW ireFraud,in violation ofTitle l8,United StatesCode,

    16 Sectionsl343and l349,andagreedtotheforfeitllreofpropertysetforth intheForfeitureAllegation
    l7 in theSuperseding Crim inalIndictm entand thePleaM em orandum . Docket#57.

    18           This CourtfindsthatYULIEATON shallpay a criminalforfeimre moneyjudgmentof
    19 $1,011,400.00inUnited StatesCurrencytotheUnited StatesofAm erica,pursuanttoFed. R.Crim ,
                                                                                                    I
    20 P.32.2(b)(1)and(2);Title18,UnitedStatesCode,Section98l(a)(1)(C)andTitle28,UnitedStates
                                                     '
    2l C                                                 )     :
           ode,Section2461(c);andTitle2l,UnitedStatesoode,Section 853(p).
    22    ...

    23    ...
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     l       THEREFORE,IT ISHEREBY ORDERED,ADJUDGED,AN D DECREED thattheUnited
(
E    2 States recover from YULI EATON a criminalforfeimre money judgmentin the amountof
!    3 $1,011,400.00in United StatesCurrency. '           '
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